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UNlTED STATES DiSTRlCT COURT F;j 513 BW `_ _M D_g_
WESTERN D|STRICT OF TENNESSEE _
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UNlTED STATES OF AMER|CA W‘Dlwc!r: ritz MEMPWS

v. 2:04CR20490-01-D

BOBB|E J. CONLEY
Rando|gh W. Aldenl FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 02, 2005.
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titie & section MW. Offense Numberjsj
L\M
18 u.s.c. § 1344 sank Fraud 03/0212004 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996

Count(s) 2-18 are dismissed on the motion of the United States.
lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district

within 30 days of any change of name, residence, or mailing address until all fines, restitutionl costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth'. 12/23/1951 |V|ay 20, 2005
Deft's U.S. Marsha| No.: 20065-076

Defendant’s Mai|ing Address:
410 N. 36TH STREET
WEST N|EMPH|S, AR 72301

    

7 1 .~A_ 4.-,¢{~
'ERN[CE B. D NALD
UNlTED STATES DlSTRICT JUDGE

May §/ ,2005

         
 
 

ih:s document entered on the docket she t `1
with iiu|e 55 and/or 32(':)) FHCrP on

 

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Case No'. 2:04CR20490-01 Defendant Name; Bobbie J. CONLEY Page 2 of 5

IMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of Time Served.

RETU RN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNlTED STATES MARSHAL
By:

 

Deputy U.S. |Vlarsha|

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 ¥ears years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons',

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances. except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

tt. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine ora restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

The defendant shall obtain and maintain full time employment;

The defendant shall make full financial disclosure as directed by the Probation Officer;

The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit, or making an obligation for any major purchases in excess of $500.00 Without prior
approval by the Probation Officer;

The defendant shall continue to undergo gambling addiction counseling during the period
of supervised release as directed by the Probation Ocher;

The defendant shall cooperate with DNA collection as directed by the Probation Officer.

CR|MINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 $14,191.00
The Specia| Assessment shall be due immediately

FlNE
No fine imposed.

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REST|TUT|ON

Restitution in the amount of $14,191.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

 

Priority
Total Amount of Order
Name of Payee Amount Restitution Ordered or
of Loss Percentage
of Payment

FlRST TENNESSEE BANK, $14,191.00 $14,191.00
Atth CORPORATE SECUR|TY

DEPARTMENT; SHE|LA

BRAML|TT 18 U.S.C. § 3663/-\

P O BOX 84

MEN|PHlS, TN 38103

|fthe defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. interest requirement is waived. Defendant to notify
the Court and the United States Attorney of any material change in economic
circumstances that may affect defendants ability to pay restitution

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonmentl Al| criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons’ inmate Financia| Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation ofticer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CR-20490 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Carroll L Andre'
AUSA

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Honorable Bernice Donald
US DISTRICT COURT

